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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


        The Humane Society of the United States                )
                             Plaintiff                         )
                                v.                             )      Case No. 1:18-cv-00646
   Animal and Plant Health Inspection Service, et al.          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiff                                                                                                     .


Date:          04/23/2019                                                                 /s/ Anna Frostic
                                                                                         Attorney’s signature


                                                                                Anna Frostic (D.C. Bar No. 977732)
                                                                                     Printed name and bar number
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